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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

LAURENCE M. ADAMS,

Plaintiff,
Vv. NO: 07-CA-10698 RGS
CITY OF BOSTON,

Defendant.

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MEMORANDUM OF PLAINTIFF, LAURENCE M. ADAMS, IN OPPOSITION TO
DEFENDANT'S MOTION FOR BIFURCATION OF DISCOVERY AND TRIAL
(DOCUMENT NO: 29)

I. Introduction

The plaintiff, Laurence M. Adams, states his opposition to
Defendant's Motion For Bifurcation of Discovery and Trial, which
was filed on August 6, 2008, and docketed as Document No: 29. In
the circumstances of this case bifurcation of discovery or trial
would be likely to make these proceedings less efficient and such
an order would be prejudicial to the plaintiff. This case is
proceeding against the City of Boston alone, and not against
individual police officers, so bifurcation would do little more
than permit the City of Boston to delay their obligation to provide
discovery on the Monell issues that are of central importance to

this case.
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II. Standards to be Applied in Regulating the Order of Discovery

There is no dispute that this Court has the discretion to
limit discovery to appropriate categories of information, and to

determine the timing and sequence of discovery. Rule 26(b) (1)

provides in part that parties may "obtain discovery regarding any

non-privileged matter that is relevant to any party's claim or
defense -- including the existence, description, nature, custody,
condition, and location of any documents or tangible things and the
identity and location of persons who know of any discoverable

matter." Rule 26(b) (1) F.R.Civ.P. There should be no doubt that the

discovery sought by the plaintiff on Monell issues is well within
these limits since this information is "relevant" to the
plaintiff's claim. The defendant points to the language of Rule
26(b) (2) (C) (i) -(iii) for authority limiting discovery. In this
case the discovery sought by the plaintiff is not in any sense
exempt from discovery under that rule. (i) The Monell discovery
is not "unreasonably cumulative or duplicative” nor can it be
obtained more conveniently from another source. The plaintiff
seeks information, inter alia, on the practices, policies, customs,
and training practices of the Boston Police Department . The City
of Boston is in the best position, and is likely to be the only
source for most if not all of this information. (ii) The plaintiff
has not previously had "ample opportunity to obtain” such discovery
in the past, but did submit timely document requests and

interrogatories seeking such information in this case and is
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awaiting responses to such discovery. (iii) The "burden and
expense of the proposed discovery" does not outweigh "its likely
benefit." This discovery is important to the resolution of this
case and as further discussed below, the case is ripe for discovery
on these issues. There is a certain amount of "burden" associated
with responding to any discovery, but that burden does not outweigh
the need for the discovery on these important and central issues
in this case.

As the City accurately notes, this Court has the discretion to
enter orders in connection with the timing and sequence of
discovery under Rule 26(d). However, under the circumstances of
this case the efficiency of these proceedings would be enhanced by
permitting discovery against the City to proceed, rather than
having such discovery suspended pending the results of a bifurcated
trial. Finally, pursuant to Local Rule 26.3 this Court has
discretion to enter orders on the phasing of discovery as it deems
appropriate, and in so doing this Court may consider discovery that
may "facilitate settlement and the efficient completion of
discovery" and "developing information needed for a realistic
assessment of the case." The plaintiff submits that the
possibility of "settlement" and the "efficient completion of
discovery” would not favor bifurcation of either discovery or trial
on the Monell issues. As discussed below, there is a significant

amount of information regarding the constitutional violations that
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Mr. Adams has suffered, and the City is aware of that information.
Hundreds of pages of discovery regarding the underlying criminal
case was disclosed by the plaintiff at an early stage of this case,
and the City has had the opportunity to review the extensive
Superior Court trial Court record. It is submitted, that aside
from the Monell issues upon which the City has provided no
discovery, there has been disclosure of information that would
advance "a realistic assessment of the case.”

TII. Since There Should Be No Dispute that Exculpatory Evidence Was
Withheld From Mr. Adams at his Criminal Trial in 1974 and That
This was a Constitutional Violation it Would Not be Efficient

to Suspend Discovery and Trial on the Monell Issues _ As
Requested by the City of Boston.

The City requests a bifurcation order that would break down
this case into two phases: "(1) the first to be discovery and trial
as to the Plaintiff, Laurence M. Adam's ("Plaintiff"), underlying
42 U.S.C. § 1983 liability claim that exculpatory evidence was
withheld from him in violation of his rights under the United
States Constitution and that this resulted in an unfair an
unconstitutional trial and a wrongful conviction; and (2) the
second, if necessary, to be discovery and a trial as to Plaintiff's
municipal liability claim that the City of Boston maintained a
municipal custom or policy of deliberate indifference to the
conduct of police officers of failing to disclose exculpatory
evidence." Defendant's Memorandum at p. 1. Such an Order would

allow the City to postpone its discovery compliance obligations,
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and it would delay discovery and trial on the Monell issues, but it
would not be in the interests of either judicial economy or
fundamental fairness.

The City argues that the question of whether or not any Boston
Police Officer withheld evidence and whether Mr. Adams "suffered a
deprivation of his purported constitutional right to receive
exculpatory evidence" should be the subject of a first round of
discovery and trial before the plaintiff is permitted any discovery
from the City with regard to its practices and policies in
connection with exculpatory evidence. Defendant's Memorandum at 7.
However, there is no doubt that Mr. Adams was deprived of access to
exculpatory evidence, and while the City describes such access as
a "purported constitutional right" there is similarly no doubt that
having access to such evidence is a genuine, well-established, and
actual constitutional right, not a purported constitutional right.
The City should be required to provide discovery on the Monell
issues promptly, rather than delaying such responses.

The Murder Conviction of Mr. Adams was Vacated
Based Upon Constitutional Violations and Withholding of
Exculpatory Evidence by the Boston Police.

On March 13, 1974, Mr. Adams, was convicted of the offenses of
murder in the first degree and armed robbery and he was sentence to
death by electrocution. The conviction was affirmed following a
first motion for new trial and a direct appeal, by the Supreme

Judicial Court on March 31, 1978. Commonwealth v. Adams, 374 Mass.
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722 (1978). Evidence that was first discovered nearly thirty years
after trial established that the Boston Police Department had
exculpatory evidence in its possession at the time of trial which
undermined the testimony of Commonwealth witnesses, Wyatt Moore,
Suzie Moore, who claimed that they had heard Mr. Adams make
inculpatory statements linking him to the murder. This "admission"
testimony was the keystone of the prosecution, but Mr. Adams was
deprived of the opportunity to defend against this evidence.

On April 15, 2004, Associate Justice Robert A. Mulligan
allowed a motion for new trial that was filed by Mr. Adams. See
Commonwealth v. Adams, Suffolk Superior Court No: 74652, 2004 Mass.
Super. LEXIS 225 (April 14, 2004) ("New Trial Decision") .} The
Superior Court found that there was newly discovered evidence,
specifically including documents that were in the files of the
Boston Police Department. Id. The Superior Court found that the
newly discovered evidence "casts real doubt on the justice of the
conviction" and that there was a "substantial risk that the jury
would have reached a different conclusion had the evidence been
admitted at trial." Id at *18. The Superior Court found that the
newly discovered evidence "constitutes material exculpatory
evidence that should have been disclosed by the Commonwealth to the

defense pursuant to the Fifth, Sixth, and Fourteenth Amendments to

1
Exhibit A.

A copy of that Superior Court decision is attached hereto as
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the United States Constitution and Article 12 of the Massachusetts
Declaration of Rights. See Brady v. Maryland, 373 U.S. 83, 87, 10
L. Ed. 2d 215, 83 S. Ct. 1194 (1963); Kyles v. Whitley, 514 U.S.
419, 437-38, 131 L. Ed. 2d 490, 115 S. Ct. 1555 (1995); U.S. vw.
Bagley, 473 U.S. 667, 105 S. Ct. 3375, 87 L. Ed. 2d 481 (1986);
Commonwealth v. Tucceri, 412 Mass. 401, 589 N.E.2d 1216 (1992);
Commonwealth v. Gallarelli, 399 Mass. 17, 502 N.E.2d 516 (1987);
Commonwealth v. Ellison, 376 Mass. 1, 379 N.B.2d 560 (1978)
(convictions for armed robbery and felony murder overturned)." Id.
at *18. There was no appeal from the findings and rulings of the
Superior Court. The fact that Mr. Adams had a constitutional right
to access to such evidence has been litigated and determined "by a
valid and final judgment." See Johnson v. Mahoney, 424 F.3d 83, 93
(lst Cir. 2005).

The findings of the Superior Court establish that Mr. Adams
suffered a constitutional deprivation of his rights to due process
of law, and to a fair trial, as a result of the failure to disclose
exculpatory evidence. The Superior Court found that "[s]ome of
this newly discovered evidence was disclosed in these
postconviction proceedings from Police files and may not have been
in the files of the District Attorney at the time of trial, but the
exculpatory evidence should still have been disclosed." Id at *20
(emphasis added). Important exculpatory evidence, which was in the

files of the City of Boston Police Department, was not disclosed to
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the Assistant District Attorney who prosecuted the criminal case
against Mr. Adams. Since the evidence was not disclosed to the
prosecutor it was obviously withheld by the Boston Police
Department.

The Assistant District Attorney who presented the Adams case
to the grand jury, and who tried the case to a jury, Superior Court
Judge Roy presiding, was Stephen Delinsky. Mr. Delinsky was
recently asked* about some of these documents which the Superior
Court found to be newly discovered exculpatory evidence. Portions
of the Delinsky deposition are attached hereto as Exhibit B. Mr.
Delinsky had no recollection of seeing the notes of Detective
Sergeant Whalen describing his meeting at the Deer Island House of
Correction with Commonwealth witness, Wyatt Moore. "I saw this
document yesterday and my memory is I had never seen it before."
Delinsky TR. at 18. The Superior Court found that these notes
demonstrated the inconsistency of the statements that were given by
Wyatt Moore over a period of time. New Trial Decision at *14 - *15.

Mr. Delinsky had not seen a police report dated April 26,
1973, addressed to Sergeant Detective Whalen and signed by Officer
George Whitley. "The reason that I don't believe I saw this report

previously is because of the references in here to the independent

2 Mr. Delinsky was deposed on February 29, 2008 in a separate civil
action pending against the Commonwealth of Massachusetts. A copy of this
deposition has been made available to counsel for the City of Boston. Before
Mr. Delinsky was deposed he was provided with copies of trial transcripts by
counsel for Mr. Adams, and counsel for the Commonwealth also met with him
prior to the deposition and allowed him to review document -

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conversation with Warren Ambers." Delinsky TR. 20. Mr. Delinsky
testified that the contents of that report "would have been very
important to me," id at 21, and that if he had seen the document "I
would have remembered doing something. . ." Id at 22. That report
showed that Wyatt Moore was incarcerated with Warren Ambers at
Billerica House of Correction, and that Warren Ambers told Wyatt
Moore facts and details about the homicide, which Wyatt Moore
subsequently attributed to Mr. Adams. The Superior Court found
this police report to be significant, noting that Wyatt Moore's
statements "evolved after Mr. Moore had conversations with Warren
Ambers at the Billerica House of Correction. ‘However, at trial Mr.
Moore did not acknowledge that he discussed the matter with Warren
Ambers." New Trial Decision at *15.3

Finally, Mr. Delinsky was asked about a previously undisclosed
recorded and transcribed statement of a man named Charles Connelly,
also known as Charles Cahill. Mr. Delinsky remembered seeing this
document for the first time on the day before his deposition. "I
have no independent memory of seeing this document prior to that,
primarily because it had independent admissions of Harry Ambers and
more details about his brother. . ." Delinsky TR. at 24. This

"newly discovered transcribed statement given by Mr. Cahill to

3 The Superior Court further found "[t]he trial court in its
instructions to the jury suggested that the jury evaluate how Mr. Moore would
have learned about the facts if he did not learn them from Mr. Adams. . . .The
Police Report dated April 26, 1973 would have allowed the defense to argue
that Mr. Moore learned these facts from Warren Ambers." New Trial Decision at
*15.
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Sergeant Whalen indicates that Harry Ambers bragged about
committing the offense with his brother.” New Trial Decision at
*17. When asked if this was an important document Mr. Delinsky
testified "Well, it was stenographically recorded, yes, I would
have considered this to be an important document." Mr. Delinsky
testified that he would have disclosed the document to defense
counsel if he had seen it. Id at 25.

In describing the importance of these documents which were in
the possession of the Boston Police Department, and which were
never disclosed to the defense, and which Mr. Delinsky says he
never did see, the Superior Court found:

The police investigation files, which were not available

to the defense prior to trial, could have been used to

impeach Wyatt Moore, Lynn Moore, and Sergeant Whalen. If

the defense had access to the contemporaneous notes of

Sergeant Whalen, and reports which were addressed to him,

he too could have been questioned about the evolution of

the statements of Wyatt Moore.

New Trial Decision at *15- *16.

The Superior Court recognized that Wyatt Moore was a "chief
witness" for the Commonwealth, and that the record now reveals that
he made inconsistent statements about the "admissions" of Laurence
Adams. "These 'admissions’ were at the core of the Commonwealth's
proof and theory of the case." Id at *13-*14. Attorney Delinsky
concurred in this assessment, and testified that if it were not for

evidence that Mr. Adams made certain "admissions" there would have

been no basis for the criminal prosecution. When Mr. Delinsky was

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asked if he relied heavily upon the "admissions witnesses” in the
criminal trial proceedings the following exchange occurred:
A. Yes, yes, those admission witnesses were extremely
important, absolutely. Without those the case would have
been directed; there would have been insufficient
evidence.
Q. So it's your opinion as the trial prosecutor that he
would have been found not guilty but for those admissions

witnesses?

A. I wouldn't have indicted him. I couldn't have
indicted him.

Delinsky TR. 41. The record reveals, and the findings of the
Superior Court have determined, that documents in the possession of
the Boston Police Department were "newly discovered" never having
been provided to Mr. Adams prior to his criminal trial, and the
testimony of Mr. Delinsky shows that he never revealed these
documents because they were not given to him.

The history of how this exculpatory evidence that was in the
possession of the Boston Police Department came to be disclosed
thirty years after trial is central to this case and relevant to
the pending motion to bifurcate and illustrative of the City of
Boston Police Department's historical antipathy for disclosing

evidence.

The City of Boston Did Not Disclose Exculpatory Evidence
At the Time of the Criminal Trial and Failed to Provide
Such Documents Upon Request in Subsequent Proceedings.

As noted above, the Superior Court found that the evidence was

"newly discovered" and that Mr. Adams was deprived of access to

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"witness statements, police reports, and notes regarding the
criminal investigation." Adams at *4 -*5. Even before Mr. Adams
filed his successful motion for post conviction relief, efforts
were made to obtain any exculpatory evidence directly from the City
of Boston. Those efforts were rebuffed. In the course of
investigating the underlying criminal case in anticipation of post-
conviction proceedings, counsel for Mr. Adams requested that the
City of Boston Police Department provide access to the police
investigation files in a public records document request. See
Exhibit C.4 The City of Boston provided access to a redacted one
page "Journal entry" and nothing further. See Exhibit D.> In
accordance with governing state law procedures, counsel appealed
the City's response to this public records request to the Secretary
of the Commonwealth. The Secretary of the Commonwealth issued an
order requiring that access be permitted to documents in the Boston
Police Department files, with certain specified redactions, and

that such documents be produced within ten days. See Exhibit E.°

4 The first written request under the Public Records Act, M.G.L. Ch. 66
§ 10, was sent to the City of Boston Police Department on October 26, 1995.
As the Superior Court noted, at the time of trial Mr. Adams was provided with
a copy of this "journal entry." New Trial Decision at *7.

5 The City of Boston responded on December 6, 1995, made brief
reference to statutory provisions that provide exemption from disclosure in
specific circumstances. On December 14, 1995, counsel for Mr. Adams provided
a detailed response to the City of Boston explaining why such alleged
exemptions were not applicable. The City of Boston provided no further
responsive documents, nor any meaningful itemization of the documents that it
chose to withhold from disclosure.

6 The Order of the Secretary of the Commonwealth was issued on July 17,

1997.

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The City of Boston chose not to provide the documents that were the
subject of a lawful Order issued by the Secretary of the
Commonwealth. See Exhibit F. As a result, whatever information was
in the files of the Boston Police Department was unavailable to Mr.
Adams when he filed his motion for post conviction relief.’

On December 6, 2000, after a Motion for Post-Conviction was
filed by Mr. Adams in the Suffolk Superior Court, the Superior
Court issued an Order Requiring Disclosure of Documents by the
Boston Police Department and the Commonwealth. Copies of this
Order were sent to the Boston Police Department on January 17,
2001, March 2, 2001, and March 21, 2001. Exhibit G. On March 2l,
2001, the Boston Police Department provided access to certain
records which were described as "a complete copy of the Boston
Police Department Homicide file in connection with the November
1972, beating death of James C. Corry." See Exhibit H. As a
result, documents that were not disclosed at the time of trial in
1974, and which were not disclosed pursuant to the order of the
Secretary of the Commonwealth in 1997, were finally came to light.
These documents proved to be central to Judge Mulligan's decision
allowing the motion for post conviction relief. If the documents

had been provided at the time of trial there may have been no

7 Tf the Superior Court Associate Justice Mulligan had not taken the

step of ordering that the entire homicide file be revealed, more than thirty
years after the conviction, it is likely that Mr. Adams would still be in
prison, and the exculpatory evidence would still be in the files of the Boston
Police Department.

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indictment against Mr. Adams, or if there were, Mr. Adams would at
least have had access to this evidence, and his constitutional
right to due process of law and to a fair trial would have been
preserved, and Mr. Adams may have been spared over thirty years of
incarceration. If the City had provided access to these documents
when they were requested in 1995, or if the City had complied with
the lawful Order of the Secretary of the Commonwealth requiring the
disclosure of records and documents charges, in 1997, Mr. Adams
would have been able to avert several years of incarceration
because he could have established that the conviction was the
product of constitutional violations several years earlier.

By Failing to Disclose Exculpatory Evidence the City

of Boston Police Deprived Mr. Adams of a Clearly
Established Constitutional Right.

The City suggests that Mr. Adams did not have a constitutional
right to access to exculpatory evidence, or in the alternative that
the Police and the City had no obligations to Mr. Adams in
connection with any such rights, and that such responsibility fell
solely upon the office of the District Attorney. As noted above,
the Superior Court concluded not only that Mr. Adams had a right to
such exculpatory evidence but that the failure to disclose such
evidence required a new trial. Commonwealth v. Adams, supra at *
18. The Assistant District Attorney who worked on this case has
now testified under oath that he was not provided with access to

this evidence, and that if he had, it would have been disclosed to

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the defense. The seminal case regarding exculpatory evidence was
decided a decade before the investigation was conducted in the
underlying criminal case here where the exculpatory evidence was
withheld. See Brady v. Maryland, 373 U.S. 83 (1963) (due process
prohibits suppression of material evidence "irrespective of the
good faith or bad faith of the prosecution"). See also Giglio v.
United States, 405 U.S. 150, 153-155 (1972) (evidence that may be
used to impeach an important witness must be disclosed). While the
City has argued that the Brady doctrine did not establish that
Police have any disclosure obligation the federal courts that have
considered this issue have concluded to the contrary. See Barbee
v. Warden, 331 F.2d 842, 846 (4th Cir. 1964) ("If the police allow
the State’s Attorney to produce evidence pointing to guilt without
informing him of other evidence in their possession which
contradicts this inference, [police] officers are practicing
deception not only on the State's Attorney but on the court and the
defendant."); Hilliard v. Williams, 516 F.2d 1344, 1349-50 (6th
Cir. 1975), vacated on other grounds 424 U.S. 961 (1976), on remand
540 F.2d 220, 222 (1976) (affirming judgment against
investigator) (in a case arising from a 1970 murder investigation,
court held that allegation that state investigator violated Brady
states a claim under 42 U.S.C. § 1983); Jones v. Chicago, 856 F.2d
985, 995 (7th Cir. 1988) (Judgment under § 1983 affirmed based upon

failure of police, and city, to disclose exculpatory evidence as

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required by Brady); Brady v. Dill, 187 F.3d 104, 114 (1st Cir.
1999) ("Constitutional wrong results from the officer's failure to
deliver material information to competent authorities."); Maher v.
Town of Ayer, 463 F.Supp. 2d 117, 122 (D.Mass. 2006) (claim under §
1983 premised in part upon police officer's failure to disclose
evidence "that could have been put to exculpatory use at trial").°

Since the City of Boston is now arguing that there was no
constitutional duty or obligation to disclose exculpatory evidence,
it may be inferred that this is a reflection of the policy and
practices in effect leading up to the trial of Mr. Adams, whereby
exculpatory evidence would not be, and was not, disclosed. The
Police and the City engaged in suppression of exculpatory evidence
which resulted in the introduction of incomplete, misleading, and
false evidence in the criminal trial proceedings.

The policies, customs, and practices of failing to disclose
exculpatory evidence, and/or a reckless indifference to the
obligation to disclose such evidence, is central to this case.

Such policies and customs would permit trials to proceed based upon

8 In evaluating a case arising from police misconduct taking place

in or about 1967, the First Circuit noted "if any concept is fundamental to
our American system of justice, it is that those charged with upholding the
law are prohibited from fabricating evidence and framing individuals for
crimes that did not commit. Actions taken in contravention of this
prohibition necessarily violate due process. . ." Limone v. Condon, 372 F.3d
39, 44-45 (lst Cir. 2004). The same is true here where the actions of the
police undermined the constitutional operation of the criminal justice system
and prevented the defendant from having access to evidence which "casts real
doubt upon the justice of the conviction” and where there was a "substantial
risk that the jury would have reached a different conclusion had the evidence
been admitted at trial." Exhibit A at 5.

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incomplete misleading and false evidence, and are wrong and
unconstitutional now and they were wrong and unconstitutional at
the time that such evidence was withheld from Mr. Adams leading up
to the time of his trial.

This is not a case where it is speculative as to whether the
plaintiff will be able to establish that he was deprived of due
process of law, or where it is speculative whether the Police and
the City of Boston failed to disclose exculpatory evidence. The
record already shows that the Superior Court found such violations,
and the Assistant District Attorney has confirmed that the
documents, which we now know to have existed in the files of the
Boston Police Department, were not disclosed to him.

The City argues that other incidents where it has been alleged
that Boston Police Officers have withheld information, or where
other shortcomings have been alleged, which are available in the
public record have no "indicia of reliability or relevance as to
the Plaintiff's Municipal liability claim.” Defendant's Memorandum
at 3. The City then argues that the plaintiff should be denied
access to information that is currently available only to the
defendant in the context of the motion to bifurcate. It would not
serve the interests of justice -or judicial economy to prevent
access to such discovery any longer.

This is a case where relevant information was withheld from

Mr. Adams for so long that the police officers involved in the

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investigation have retired and passed away. This twist of fate has
put Mr. Adams in the position where his remaining claim is against
the City of Boston. The City should be required to respond to
outstanding discovery on the Monell issues, since it would appear
that their defense strategy is likely to focus upon their position
that any failure to disclose this exculpatory evidence should be
attributed to individual police officers, or to the Office of the
District Attorney, and not to the any policies, customs, or
practices of the City.

IV. The Motion to Bifurcate any Trial Should be Denied at This

Time Because Such Separate Trials Would not Promote Judicial
Economy .

The defendant has requested a bifurcation of both discovery
and trial. As argued above, discovery of information in the
possession of the City should be allowed to proceed without delay.
The second question of whether any trial should be bifurcated is
premature at this stage. Once discovery is complete, and once
there is sufficient disclosure to make a "realistic assessment of
the case", Local Rule 26.3, the question of bifurcation may be
ripe for reconsideration. However, it should be kept in mind that
this is a case against the City, and it is not a case where there
are living police officers who would be subject to a different
trial and separate liability judgments. Part of the case is chief
will be to establish that individuals associated with the Boston

Police Department engaged in actions that violated the civil rights

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of Mr. Adams but there will be no separate monetary judgment
against such individuals. As a result, if there were a
"preliminary trial” aimed at determining whether there were civil
rights violations committed by city employees, such a trial would
not conclude with a judgment against such individuals, but perhaps
with answers to special questions. It would be more efficient to
proceed with a single trial.

Based upon the record of this case as developed thus far,
there is no basis to conclude that there would be "jury confusion”
or that a single trial would be oppressive or burdensome. The
motion to bifurcate should be accordingly denied.

Vv. Conclusion

For the above stated reasons it is submitted that the
Defendant's Motion for Bifurcation of Discovery and Trial should be
denied.

The plaintiff requests oral argument on this motion and
estimates that such argument would require approximately thirty
minutes of this Court's time.

Submitted by the plaintiff
Laurence M. Adams, by his
Loyney

hn J. Barter
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September 5, 2008

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CERTIFICATE OF SERVICE
The above document was this day served electronically, upon
counsel for the defendant, City of Boston:

Hugh R. Curran, Esq.
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300 Market Street
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Signed under the penalties o
September, 2008.

perju A day of
. WE

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